                                                                               SIGNED.


                                                                                Dated: July 10, 2020


1
                               IN THE UNITED STATES BANKRUPTCY COURT
2                                    FOR THE DISTRICT OF ARIZONA_________________________________
                                                                               Paul Sala, Bankruptcy Judge
3

4    In re:                                            )      CHAPTER 13 PROCEEDINGS
                                                       )
5               GLENN STEVEN FERRIS,                   )      # 2: 19-15736-PS
                WENDY ANN FERRIS,                      )
6                                                      )      DISMISSAL ORDER
                                       Debtor(s)       )         (re: docket #29)
7

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9           It having been shown to the Court that the Debtor(s) has failed to comply with the Court
     requirement concerning:
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              Failure to fully comply with the Trustee’s Recommendations dated March 19, 2020 and
13            submission of the Stipulated Order Confirming Chapter 13 Plan or set a hearing before the
              Court. As of the date of this Dismissal, no current Motions to Extend Time appear on the Court
14            Docket and these item(s) have not been addressed.

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              Now Therefore, IT IS ORDERED THAT:
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     1.       This case is dismissed and the Clerk of the Court will give notice of the dismissal to all creditors;
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20   2.       A Motion to Reinstate the case may be granted without a hearing if the Trustee approves the
21            proposed reinstatement order. If the Trustee does not approve reinstatement of the case, the
              matter may be set for hearing upon the Debtor(s)’ motion. The Court may set a hearing on the
22
              Debtor(s)’ motion to reinstate on the request of an interested party who had joined the Trustee’s
23
              request for dismissal;
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25   3.       Pursuant to 28 U.S.C. §586(e)(2), the Trustee shall be paid his percentage fee from all
              payments received from the Debtor(s);
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1                                                                      Trustee’s Dismissal Order
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     4.    If the Court previously entered a payroll deduction order on one or both of the debtors’ wages,
7          then the Court vacates that order; and
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     5.    Except as may be stated herein, all pending adversary proceedings, contested matters, and
9
           administrative hearings related to this case are vacated
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11   6.    Retention of Jurisdiction: The Trustee will retain the Debtor(s) funds pending Court
12         approval of the payment of administrative expenses of the Debtor(s) attorney. If the
13         Debtor(s) Chapter 13 Plan contained an Application for Payment of Administrative
           Expenses to the Debtor(s) attorney and no party filed an objection to the Application,
14
           the Debtor(s) attorney may lodge an Order approving the Application within ten
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           days after the Court enters this Dismissal Order. Alternatively, the Debtor(s)
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           attorney has ten days from the Court’s entry of this Dismissal Order to file a separate
17         fee application. If an Order approving the Application or a separate fee application is
18         not filed within ten days, all remaining funds held by the Trustee will be returned to
19         the Debtor(s);

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     ________________________________________________________________________________
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                                          ORDER SIGNED ABOVE
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